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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   United States of America,                           Case No.: 20MJ4606-AHG
12                                      Plaintiff,
                                                         ORDER
13   v.
14   Aaron David FARRELL,
15                                    Defendant.
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17           The Court orders the United States to comply with the continuing duty to disclose
18   evidence which is favorable to the defendant as required by Brady v. Maryland, 373 U.S.
19   83 (1963), and its progeny. Upon finding that the government has failed to comply with
20   this order, the Court may, as appropriate, order the production of such information, grant
21   a continuance, impose evidentiary sanctions, or, in extreme cases, dismiss charges.
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23   Dated: 11/24/2020
24                                                   HON. ANDREW G. SCHOPLER
25                                                   U.S. Magistrate Judge

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